         Case 1:19-cv-07346-AJN-KNF Document 18 Filed 11/14/19 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HELEEN MEE,S,                                                            DE,CLARATION OF
                                                                         SERVICE BY MAIL
                                       Plaintiff,
                                                                         19 Civ. 7346 (AJNXKI.{F)
                           -against

CITY OF NE,WYORK, MANHATTAN
DISTRICT ATTORNE,Y'S OFF'ICE, CYRUS
VANCE, JR., NITIN SAVUR, JEANINE
LAUNAY, SAMANTHA SCHOT:T,

                                        Defendants.


                I, WILIAM GOSLING, declare, pursuant to 28 U.S.C. 51746, under penalty                          of
perjury that on November 14,2019,I served the following documents:

                NOTICE OF MOTION AND DECLARATION IN SUPPORT OF JOINT
                MOTION TO DISMISS (WITH ATTACHED EXHIBITS)
          O     LOCAL RULE 12.1 NOTICE TO A PRO,SE LITIGANT WHO OPPOSES A
                RULE 12 MOTION TO DISMISS
          a     MEMORANDUM.OF LAW IN SUPPORT
                OF JOINT MOTION TO DISMISS
          a     UNPUBLISHED CASES PURSUANT TO LOCAL CIVI RULE 7.2

upon the following plaintiff pro se by depositing a copy of same, enclosed in a first-class
postpaid properly addressed wrapper, in a post office depository under the exclusive care and
custody of the United States Postal Service, within the State of New York, directed to saidpro se
plaintiff at the address set forth below, being the address designated by plaintiff for that pu{poso:

Heleen Mees
Plaintiff Pro Se
30 Main Street, Suite l lh
Brooklyn, New York Il20l

Dated:              New York, New York
                    November 14,2019



                                                               William Gosling
                                                               Assistant Corporation Counsel
                                                               Special Federal Litigation



I
    Williu-   Gosling has passed the July 2019 Uniform Bar Exam and is working on this matter under the supervision
of Genevieve Nelson, Esq.
